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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                               Southern District
                                             __________  DistrictofofNew York
                                                                      __________


             UNITED STATES OF AMERICA                          )
                             Plaintiff                         )
                                v.                             )      Case No.     23-cr-490
               ROBERT MENENDEZ, et al.,                        )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Wael Hana                                                                                                    .


Date:          09/26/2023                                                                s/ Anne M. Collart
                                                                                          Attorney’s signature


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